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                       IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF OREGON

                                  PENDLETON DIVISION

OREGON FIREARMS FEDERATION, INC.,             Case No. 2:22-cv-01815-IM (Lead Case)
et al.,                                       Case No. 3:22-cv-01859-IM (Trailing Case)
                    Plaintiffs,               Case No. 3:22-cv-01862-IM (Trailing Case)
        v.                                    Case No. 3:22-cv-01869-IM (Trailing Case)
KATE BROWN, et al.,
                                              CONSOLIDATED CASES
                            Defendants.
                                              SECOND DECLARATION OF
MARK FITZ, et al.,                            JASON MYERS
                            Plaintiffs,
       v.
ELLEN F. ROSENBLUM, et al.,
                            Defendants.

KATERINA B. EYRE, et al.,
                            Plaintiffs,
       v.
ELLEN F. ROSENBLUM, et al.,
                            Defendants.

DANIEL AZZOPARDI, et al.,
                            Plaintiffs,
       v.
ELLEN F. ROSENBLUM, et al.,
                            Defendants.
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I, Jason Myers, declare and state the following.

   1. I am a resident of Stayton, Oregon, am over 18 years of age, and have personal
      knowledge of the matters stated herein.

   2. I am a retired Sheriff of Marion County Oregon and currently serve as the Executive
      Director of the Oregon State Sheriff’s Association (“OSSA”), and am authorized to speak
      and testify on its behalf.

   3. OSSA is a 501(c)(3) nonprofit corporation, dedicated to supporting Oregon Sheriffs and
      Sheriff’s Offices. It has operated in Oregon since 1916. OSSA provides a substantial
      portion of the training for Sheriff’s Office personnel statewide as well as represents and
      advocates on behalf of Oregon Sheriffs. The OSSA Board of Directors consists of
      Oregon’s 36 elected Sheriffs.

   4. Measure 114 makes each Sheriff’s Office and each municipal police agency a “permit
      agent” for their respective jurisdictions.

   5. At this time, OSSA is working with the Oregon State Police (“OSP”) to create a permit-
      to-purchase system that meets Measure 114’s requirements. But there is currently no
      system in place, and therefore no permits to purchase can be issued.

   6. OSP has advised OSSA that OSP has no electronic infrastructure to implement the
      Measure 114’s permit program, and it will therefore be a paper-heavy process until that
      infrastructure can be created and implemented. OSP has adopted a temporary
      administrative order, dated December 6, 2022, which requires permit agents to use either
      US Mail, hand delivery, or a courier for delivery of permit applications to OSP, and to use
      only paper applications and paper fingerprint cards.

   7. On December 21, 2022, I had a virtual meeting with high level representatives from OSP
      regarding the permit process. As of that date, the Federal Bureau of Investigation (“FBI”)
      had denied OSP the ability to run the federal fingerprint background checks through the
      National Instant Background System (“NICS”) which is a required component of
      Measure 114, section 4(1)(e). Until that issue is resolved, OSP cannot fulfil the complete
      fingerprint identification required by the measure.

   8. OSSA and representatives of the Oregon Chiefs of Police have met to work on creating a
      permit process for the local permit agents. A draft document has been produced, but we
      cannot finalize the permit process without information from OSP. I have sent OSP a list
      of questions that must be answered and they have not responded to these questions at this
      time.

   9. Once OSP provides answers to the questions we submitted, OSSA’s workgroup will
      finalize the permit process and submit it to Oregon Sheriffs and Police Chiefs for
      approval. Once approved, we will work to create training for all the permit agents in the




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     state – approximately 160 agencies. OSSA also intends to provide technical assistance
     for agencies that need assistance in creating the required processes in their agency.

  10. OSSA and representatives of the Oregon Chiefs of Police have met to work on creating a
      process for the in-person demonstration of the applicant’s ability to lock, load, unload,
      fire and store a firearm. Measure 114 makes no allowance for a person with a disability
      who wants to purchase a firearm but cannot perform the required physical tasks, and
      OSSA is working on trying to address the issues arising from the Americans with
      Disabilities Act. OSSA’s workgroup has come up with a draft process, and it will be
      considered by the Sheriffs and Chiefs of Police on January 4th, 2023.

  11. Measure 114 placed a substantial amount of work on all law enforcement agencies but
      came with very little direction, no funding, and no additional staffing. A local permit
      agent may charge up to $65 for each permit application they process. OSP has advised
      OSSA and OACP that they intend to charge each local permit agent $45 per permit
      application to perform their required fingerprint background check. OSSA has asked
      OSP for their authority to charge any fee as it is not addressed in Measure 114, but has
      not yet gotten an answer. With OSP’s intent to charge permit agent’s $45 for each permit
      application fingerprint/background check, local permit agents are very reluctant to hire
      additional staff to perform these duties, which will further delay the implementation of
      the system.

  12. Measure 114 also requires permit-to-purchase applicants to provide proof of very specific
      training requirements that can be done online or in a classroom setting. OSSA has
      developed an online course which has been approved by law enforcement and is available
      at the OSSA website. OSSA is not aware of any other training that meets the
      requirements of Measure 114. As of January 3, 2023, at 11:00 am approximately 932
      individuals had completed this portion of the online training. OSSA is not aware of any
      current system available for a person to do the required in-person demonstration required
      by the Measure.

  13. As of January 3rd, 2023, OSSA does not believe that anyone in the state will be able to
      certify that they have received all the required training to obtain a permit to purchase a
      firearm. OSSA hopes to have all components of this training completed within the next
      thirty days, but OSP has indicated that they believe there will be 300,000 new permits
      issued in the first year Measure 114 is operational. It will take a significant amount of
      time for all 300,000 applicants to obtain the required training components once all
      processes are finalized. Without the required training, a person will not be able to even
      apply for a purchase permit.

  14. At this time, OSSA does not believe that the permit system can be finalized unless the
      Federal Bureau of Investigation agrees to allow the required fingerprint checks through
      the NICS system, all local permit processes are finalized, and all permit agencies are
      trained. At this time OSSA cannot give the court a date of when an operational permit
      system can be in place because of the current hurdles and the required statewide training
      for permit agents.



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   15. Even once all OSP and permit agent processes are finalized, OSSA is not aware of any
       Sheriff’s Office that currently has the staff or resources to handle the expected volume of
       purchase permit applications. Given the finite resources of Oregon law enforcement
       agencies and the lack of electronic systems to expedite the process, OSSA expects that,
       once the permit process is available, people wishing to apply for a purchase permit will
       be given an appointment several months out. OSSA believes the number of permits
       processed in the first months will likely be in the hundreds. OSSA does not believe there
       is any realistic possibility that local permit agents will be able to process anywhere near
       300,000 permits in a single year.

   16. Under current federal law, if a background check is not completed within three days, the
       dealer can legally transfer the firearm to a purchaser. 18 U.S.C. § 922(t). Under the new
       purchase permit process, there is no time limit on how long OSP can take with the
       criminal history check, and an applicant for a purchase permit could be waiting for an
       indefinite period of time, and this is already occurring.

   17. During our meeting with OSP on December 21, 2022, OSP advised that the (FICS)
       background check queue (people waiting for OSP approval to buy a firearm) was at
       36,307, and they had an additional 9,927 people in a separate queue for checks that
       required further research. OSP advised that they have dedicated additional staff to the
       process are processing the requests in the date order received, and on December 21st the
       background unit was processing background checks they received on November 17th,
       2022. They further advised that when a background check goes over thirty days, OSP is
       required to replicate the initial check again. The current background check system is
       taking in excess of thirty days, and once Measure 114 goes into effect there is no required
       timeline for OSP to process a background check.

   18. I make these statements in support of the Plaintiffs’ motion to preliminary enjoin Measure
       114.

In accordance with 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true
and correct to the best of my knowledge.

Dated this 3rd day of January 2023.
                                                     _____________________________
                                                               Jason Myers




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